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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS                        Case No. 3:19md2885
  EARPLUG PRODUCTS
  LIABILITY LITIGATION

  This Document Relates to                     Judge M. Casey Rodgers
  All Cases                                    Magistrate Judge Hope T. Cannon


               DEFENDANTS’ THIRD STATUS REPORT ON
                INSURANCE COVERAGE PROCEEDINGS

      Pursuant to the Court’s May 8, 2024 Order, Defendants submit this status

report summarizing insurance-related developments since Defendants’ second status

report on July 1, 2024.

      I.     Settlement Progress Since Last Report

      Since the July 1 report, Defendants have made additional progress on their

insurance recovery efforts by reaching settlements with additional insurers regarding

coverage for the $6.01 billion global settlement. Additionally, since the July 1

report, two insurers have paid their full limits of liability under five insurance

policies toward the settlement. These insurance recoveries have been or will be paid

to the Qualified Settlement Fund within 20 days of receipt, pursuant to the Master

Settlement Agreement.

      3M and Aearo continue to engage in insurance recovery litigation in

Delaware, as described below, and continue to engage in corollary arbitration
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proceedings. 3M and Aearo also continue to engage in discussions with other

insurers in an effort to determine whether their contractual obligations to 3M and

Aearo can be resolved without further litigation or arbitration.

      For those insurers that continue to refuse to provide coverage for the Combat

Arms settlement in breach their contractual obligations, 3M and Aearo intend to

press forward with litigation or arbitration to secure the insurance coverage they

bought and paid for.

      II.    Delaware Coverage Litigation

             A.    Summary Judgment Ruling
      In the insurance coverage case pending in the Superior Court for the State of

Delaware, Aearo Technologies LLC, et al. v. ACE American Ins. Co., et al., Case No.

N23C-06-255 SKR, on July 16, 2024, the court issued a ruling on the motion for

partial summary judgment filed by the Aearo entities1 and 3M Company, as well as

the insurers’ related cross-motions for summary judgment. Aearo and 3M sought an

order confirming the duty of the five insurers that sold primary liability insurance

policies to Aearo during the relevant time period to pay Aearo’s defense costs

incurred in the Combat Arms litigation.




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 The Aearo entities that filed the motion are Aearo Technologies LLC, Aearo
Holdings LLC, Aearo Intermediate LLC, and Aearo LLC (collectively, “Aearo”).

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      The Delaware Superior Court denied Aearo and 3M’s motion for summary

judgment; granted the motion for summary judgment of one insurer (Twin City

Insurance Company); and granted in part and denied in part the motion of another

insurer, General Star Insurance Company. In that ruling, the court held that it could

not determine that the $250,000 self-insured retention of the primary insurance

policies had been satisfied because most of the defense costs had been paid by

Aearo’s parent company, 3M, which was not an “insured” under the policies. Ex. 1,

Memorandum Opinion and Order (July 16, 2024) at 16–19.

      For nine of the ten primary policies at issue, the Delaware Superior Court held

that they required the insured (Aearo) to pay the retention amounts directly and that

more than $370 million in payments from Aearo’s parent company, 3M, “do not

count towards the Self-Insured Retention.” Id. at 13.2 The court rejected Aearo and

3M’s argument that the “policies do not prohibit payments from 3M from counting

towards exhaustion of the Self-Insured Retention.” Id. at 14.

       As to most of those policies, the Delaware Superior Court held that there were

factual disputes as to whether $411,696.70 in defense costs payments from Aearo

Technologies LLC satisfied the retention, and if so, to which policy periods the

payments applied. Id. at 17. The court also granted summary judgment in favor of



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  The exception was the General Star policy, which contains “no express language
that the Retained Limit must be ‘paid’ by the insured.” Ex. 1 at 14.


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Twin City, holding that its policy required Aearo LLC, to pay the $250,000 self-

insured retention and that there was no evidence that Aearo LLC (which lacked a

bank account) had paid any defense costs. Id. at 16–17, 23.

      The Delaware court granted in part and denied in part General Star’s partial

motion for summary judgment, holding that General Star was not required to pay for

the defense of “all lawsuits in the MDL court and Minnesota court” simply because

“any one lawsuit among the Earplug Lawsuit alleges bodily injury occurring within

the General Star policy period.” Id. at 20. However, the court denied General Star’s

“request for a declaration that it has no coverage obligations for the defense costs

incurred by 3M.” Id. at 21. The court held that a “genuine issue of material fact

exists as to whether the defense costs were jointly incurred by 3M and Aearo” and,

if so, court could not determine how those costs “should be equitably allocated.” Id.

             B.    Motion for Reargument
      Aearo and 3M filed a motion for reargument, requesting that the Delaware

Superior Court reconsider its ruling on the self-insured retention for two of the

primary insurers, on the basis that those policies contained so-called “savings

clauses” confirming that any failure to pay the self-insured retention was not

intended to deprive Aearo of coverage.

      The motion noted that the court’s ruling had addressed only the language of

the savings clause in the Twin City policy, while not addressing the arguably broader



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“savings clause” language used in two other policies, which expressly provided

coverage in the event of the insured’s “failure” or “refusal” to pay the retention “for

any reason.”

      On August 26, 2024, the Delaware Superior Court denied Aearo and 3M’s

motion for reargument, holding that “[w]hile the Court focused its analysis on the

Twin City Policy, its reasoning extended” to the other insurance policies. Ex. 2,

Order Denying Mot. for Reargument (Aug. 26, 2024) at 2.

               C.   Pending Appeals

      On September 3, 2024, 3M and Aearo and Twin City stipulated to a final

judgment and dismissal of Twin City in the litigation, following the summary

judgment ruling and Twin City’s payment of its indemnity limits toward the

settlement. On September 11, 2024, 3M and Aearo filed a notice of appeal as to the

final judgment of Twin City.

      On September 5, 2024, Aearo and 3M also moved for certification of

interlocutory appeal of the Delaware Superior Court’s summary judgment ruling as

to the self-insured retention issues.      Ex. 3, Application for Certification of

Interlocutory Appeal (Sept. 5, 2024). Aearo and 3M argued that the Delaware

Superior Court erred in strictly construing “commonplace self-insured retention

language so as to work a forfeiture of coverage if a parent company pays the




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retention instead of the subsidiary,” an issue that is “materially important” to Aearo

and 3M, and to other insureds that are likely to face the same issue. Id. at 1–2.

      The Delaware Superior Court denied the request to certify its order for

interlocutory appeal on September 26, 2024. Ex. 4, Order Denying Application for

Interlocutory Appeal (Sept. 26, 2024).

      3M and Aearo have filed a notice of appeal with the Delaware Supreme Court

seeking interlocutory review of the following issues raised in the Delaware Superior

Court’s July 16, 2024 ruling:

      1.     Whether 3M Company’s payment of costs in defense of the Combat

Arms Litigation, as the parent company of its wholly owned subsidiaries, including

Aearo Technologies LLC and its affiliates, satisfy the self-insured retention of the

insurance policies discussed in the Order.

      2.     Whether satisfaction of the self-insured retention of the insurance

policies discussed in the Order is a material “condition precedent” that is required

for coverage, or whether any failure to satisfy the retention from the subsidiary’s

own account should be excused to prevent a forfeiture of coverage.

             D.    Mediation and Remaining Litigation

      Pursuant to the Delaware Superior Court’s case management order, the current

parties in the Delaware litigation are participating in mediation before Lawrence W.

Pollack. Mediation sessions are scheduled for October 30 and December 3-4.



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                                               Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I HERBY CERTIFY this 30th day of September, 2024, a true and correct

copy of the foregoing was electronically filed via the Court’s CM/ECF system,

which will automatically serve notice of this filing via e-mail notification to all

registered counsel of record.

                                                  /s/ Charles F. Beall, Jr.
                                                  Charles F. Beall, Jr.




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